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                                              Michael Carey
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                                            Loudon, TN 37774
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April 3, 2023

Honorable Colleen Kollar-Kotelly
United States District Judge
United States Courthouse
300 Constitution Avenue, N. W.
Washington, D.C. 20001

Dear Honorable Colleen Kollar-Kotelly:

I am the father of Thomas Carey and Chief Technology Officer for LinearAir.com. I am writing this letter
to express my support for my son and to share with you some insights into his character that I believe
make him an exceptional individual.

Thomas is an extremely intelligent and well-rounded person. Although he has chosen Computer Science
as a professional discipline, he is very knowledgeable regarding other subjects. He grew up as a quiet,
yet social and engaging young boy who was a big fan of literature. His quest for knowledge didn’t stop
with the books. He would always welcome a good conversation with an adult, politely “picking brains”
along the way.

With his intelligence and social skills, Thomas has provided much in return to his community. He has
performed as Jesus Christ in a play for his church in Cold Spring harbor, NY. He has volunteered his time
for his mother’s not-for-profit business helping young students develop the skills needed in today’s
workforce. He has worked for his father’s technology company. He was chosen as one of a very few
number of high school students to complete an internship at the Cold Spring Harbor labs. As a National
Merit Scholarship finalist, he led his high school’s Robotics team. He was a volunteer firefighter for the
Cold Spring Harbor Fire Department. For example, here is a video:
https://www.youtube.com/watch?v=i_i3rH1rIgA (Thomas can be seen pulling the hose 14 seconds into
this video).

Today, Thomas is finishing his final undergraduate semester at The Carnegie Mellon School of Computer
Science. Although his academic workload is relatively light, Thomas has chosen to spend the balance of
his time leading a 20-person game design club as well as work for a new startup – Hourly.com.

I have no doubt that Thomas will continue to make a positive impact on the lives of others, and I
consider myself very fortunate to have him as my son. Thank you for your time and consideration, and
please do not hesitate to contact me if you have any questions.


Sincerely,




Michael Carey
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